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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS,                         Chapter 11
INC., et al.,                                     Case No. 07-10416-KJC, et seq.

                       Debtors.


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 14, 2008, copies of the foregoing Motion for Relief

from Automatic Stay Under § 362 of Bankruptcy Code, notice and proposed order were served

via first-class mail, postage prepaid, upon the parties listed on the attached matrix.



Dated: April 14, 2008                          /s/ Adam Hiller
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